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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER GRANTING SUMMARY
                                                    JUDGMENT TO MONSANTO
   Beavers v. Monsanto Co., Case No. 20-
   cv-08799-VC                                      Re: Dkt. No. 18417




         On May 17, 2024, the Court granted Monsanto’s motion to exclude the only specific

causation experts in Beavers. See Pretrial Order No. 292 (Dkt. No. 18367). The parties were

directed to file a letter within seven days stating whether summary judgment should be granted,

given the absence of admissible expert testimony on specific causation. Monsanto filed a letter

arguing for summary judgment. Dkt. No. 18417. Beavers did not file a response to the Court’s

order.

         Given Beavers’ failure to timely respond, and given the absence of admissible specific

causation evidence in the case, summary judgment is granted to Monsanto.



         IT IS SO ORDERED.

Dated: July 8, 2024
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
